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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA                 :
 v.                                       : CRIMINAL CASE NO.:
 BETTIE JONES                             : 1:16-CR-00015-22-AT-JSA

             ORDER AND REPORT AND RECOMMENDATION

      This case is part of a large, multi-defendant action in which various inmates

in and employees of certain Georgia state prisons, along with family members and

other outside associates of inmates, allegedly conspired to smuggle contraband

(including illegal cell phones) into the prisons. This case is before the undersigned

on the motion of Defendant Bettie Jones to Suppress Statements [373], which

relates to statements that the Defendant made in an allegedly noncustodial

interview with FBI agents on November 18, 2015. As explained below, the Court

RECOMMENDS that the Motion be DENIED.

I.    BACKGROUND

      The Court held an evidentiary hearing on Defendant’s Motion to Suppress

on August 3, 2016, for which a transcript has been prepared [511]. FBI Special

Agent Brian Davis was the only witness at the evidentiary hearing. At the

conclusion of the hearing, the Court set a deadline for the filing of a post-hearing

brief by the Defendant, in the event “upon hearing the testimony here you with to
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continue to pursue the motion . . . . .” See [511] at 27. Counsel indicated at the

hearing that he was leaning towards not filing a post-hearing brief to continue to

pursue the motion but that if the decision were otherwise he would file by the

deadline set by the Court, which was August 31, 2016. Id. at 28. To date, no such

brief has been submitted by the Defendant.

II.    DISCUSSION

       As no post-hearing motion was filed by the Defendant, the Court considers

the Motion to be abandoned. Nevertheless, the Court has considered the

testimony, and has listened to the recording of the interview itself (Gov’t Ex. 1),

and offers the following brief discussion.

       If a Defendant moves to suppress her incriminating statements to law

enforcement, the Government bears the burden to show that the Defendant’s

statements were made voluntarily. See Jackson v. Denno, 378 U.S. 368 (1964).

Determining whether a statement is voluntary depends on whether, under all of the

surrounding circumstances, the statement was the product of the accused’s “free

and rational” choice. United States v. Jones, 32 F.3d 1512, 1516 (1994); see

Arizona v. Fulminate, 499 U.S. 279, 285–88 (1991). The Eleventh Circuit has

stated:

      Sufficiently coercive conduct normally involves subjecting the accused
      to an exhaustingly long interrogation, the application of physical force or
      the threat to do so, or the making of a promise that induces a confession.
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     Isolated incidents of police deception, and discussions of realistic
     penalties for cooperative and non-cooperative defendants, are normally
     insufficient to preclude free choice.

Jones, 32 F.3d at 1517 (quotation omitted).

      Moreover, in Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme Court

held that a suspect who is in custody must be advised of his right to remain silent

and of his right to the assistance of counsel prior to any interrogation by law

enforcement. The Government has the burden to show the knowing and intelligent

nature of a Miranda waiver. Id. at 475.

      Here, Miranda does not apply to the November18th, 2015 statements because

the Defendant was not in custody. The Defendant, who bears the initial burden of

establishing that she was in custody, see United States v. de la Fuente, 548 F.2d

528, 533 (5th Cir. 1978) (“[I]f a defendant shows that a confession was obtained

while he was under custodial interrogation, the government then has the burden of

proving that the defendant voluntarily waived his privilege against

self-incrimination.”), does not argue otherwise. The Court finds that the facts in

the record clearly establish the non-custodial nature of the interview. Defendant

was consensually interviewed at her residence by Agent Davis and another agent.

[511] at 6-7. She was not arrested and she was “very welcoming. She told us the

correct address and told us that we could come speak with her.” Id. at 8 Nothing in

the agent’s testimony or in the Court’s review of the recording suggests that the
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Defendant was not free to leave during this consensual interview.

      For many of the same reasons, the Court finds that the Government has

established the voluntariness of Defendant’s statements. A review of the recording

suggests that the tone of the interview was cordial and polite. While Agent Davis

acknowledged that the Defendant was “a little nervous,” [511] at 8, nothing in the

recording that the Court has sua sponte reviewed, or in the Agent’s testimony,

suggests that she felt forced, threatened, intimidated or misled into speaking with

the officers. Agent Davis denied any such conduct. Id. at 19. While the officers

were armed, the weapons were concealed. Id. at 8-10.

      Thus, the Court is satisfied that Defendant’s statements were made

voluntarily and that the Motion to Suppress [373], even if not abandoned, should

be DENIED.

                                  CONCLUSION

      The Court RECOMMENDS that the Motion to Suppress [373] be

DENIED.

      The Court has already GRANTED IN PART AND DENIED IN PART

Defendant’s Motion for Bill of Particulars, as explained in the pretrial hearing on

March 28, 2016 [391]. Therefore, the Clerk is DIRECTED to terminate the

pendency of that Motion.

      The Court DEFERS the Motion to Sever [376] to the District Judge.
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        As there is nothing else pending relating to this Defendant for the

undersigned to resolve, the matter is declared READY FOR TRIAL.

        IT IS SO RECOMMENDED and ORDERED this 28th day of September,

2016.



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                                        JUSTIN S. ANAND
                                        UNITED STATES MAGISTRATE JUDGE
